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 1                              UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3

 4    UNITED STATES OF AMERICA,                         )   2:10-cr-284-RLH-PAL-4
                                                        )
 5                      Plaintiff,                      )
                                                        )
 6                      vs.                             )   ORDER UNSEALING
                                                        )   DOCKET ENTRIES, PROCEEDINGS,
 7    PATRICIA BASCOM,                                  )   AND DOCUMENTS
                                                        )
 8                      Defendant.                      )
                                                        )
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              Based upon a stipulation between the parties and a Court order thereon, this matter,
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      including all docket entries, all proceedings and any transcripts of those proceedings, and
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      particular documents, was previously sealed. The parties stipulated to the sealing because Ms.
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      Bascom had signed a cooperation plea agreement and the government contemplated using Ms.
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      Bascom for, among other things, covert law-enforcement operations. The government has now
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      concluded that Ms. Bascom will not be used as a cooperator in any matter. Having heard the
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      parties’ arguments concerning sealing of this matter, and finding no basis in law or fact to maintain
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      a blanket sealing order in this matter, it is, therefore,
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              ORDERED that all docket entries in the above-captioned matter shall be published to the
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      public docket. This shall include, without limitation, all docket entries initially filed under Case
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      No. 10-cr-284 (which necessarily apply to Ms. Bascom) and Case No. 10-cr-284-4 (which were
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      specifically filed as to Ms. Bascom);
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              IT IS FURTHER ORDERED that all proceedings in the above-captioned matter, as well
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      as transcripts of all such proceedings, are HEREBY UNSEALED;
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              IT IS FURTHER ORDERED that, because the substance of hearings concerning Ms.
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      Bascom’s decision to have Mr. Cristalli appointed as her attorney is relevant to pending matters
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      before this Court, and because Ms. Bascom and Mr. Cristalli’s communications are no longer
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 1    privileged, hearings concerning Ms. Bascom’s efforts to have Mr. Cristalli appointed, as well as

 2    transcripts of all such proceedings, are HEREBY UNSEALED;

 3            IT IS FURTHER ORDERED that the following documents are HEREBY UNSEALED

 4    and shall be made available on the public docket:

 5            •    Ms. Bascom’s plea agreement; and

 6            •    Ms. Bascom’s “Motion to Withdraw Plea Bargain” (along with the affidavit filed in

 7                 support of the motion);

 8            IT IS FURTHER ORDERED that all filings that were initially filed unsealed shall remain

 9    UNSEALED;

10            IT IS FURTHER ORDERED that all other filings that were previously sealed shall remain

11    SEALED until further order of this Court.

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13            DATED this 11th day of January, 2012.

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17                                                UNITED STATES DISTRICT JUDGE

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